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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


BETTY EAKIN, et al,                                  )
    Plaintiffs,                                      )       Civil Action No. 1:22-CV-340
                                                     )
               v.                                    )
                                                     )
ADAMS COUNTY BOARD OF                                )
ELECTIONS, et al,                                    )
    Defendants.                                      )


                              CERTIFICATION
                       OF CONSTITUTIONAL CHALLENGE
                    TO PENNSYLVANIA ATTORNEY GENERAL

       Plaintiffs in this action challenge the constitutionality of Commonwealth’s date

requirement, as it appears in 25 P.S. § 3146.6(a) and 25 P.S. § 3150.16(a), under the First and

Fourteenth Amendments to the U.S. Constitution.

       Plaintiffs have not named the state or any state agency as a party to this lawsuit.

Accordingly, pursuant to 28 U.S.C. § 2403(b) and Federal Rule of Civil Procedure 5.1, the

Attorney General of Pennsylvania is hereby noticed of this constitutional challenge.



       AND NOW, this 18th day of June 2024,

       IT IS HEREBY ORDERED that the Commonwealth of Pennsylvania is permitted to

intervene for the presentation of evidence and for argument on the question of constitutionality.




                                                     _____________________________
                                                     SUSAN PARADISE BAXTER
                                                     United States District Judge

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